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Case 18-18081-amc Doc 45 Filed 05/09/24 Entered 05/09/24 12:58:14 Desc Main

Dispute resolution notificaa@me Page 1 of 1 esxperian
As required by the FCRA, we are notifying you that we modified or deleted your data "s p .
in response to a consumer dispute. The reason for the modification or deletion and

the details appear below. No response is required; however, you may want to use

this information to check your records.

Notification information Consumer identification

Notification action Notification type Name Social Security number
Delete Identification SHAMSIDDIN HAMEEN ISLAM XXX-XX-0980
Notification reason Data furnisher Address Date of birth
Internal Processing 641 NORTH AVE NE #3101 05/01/1955
Notification date Data furnisher code ATLANTA GA 30308

04/22/2024 6004000 Previous address

Control number For public records only:

1741362901001 Reference number

Book page seq. number

Dispute information

Dispute reason

Consumer claims they never lived or received mail at

this address,

Identification The shaded areas contain the information as it appeared when it was disputed, the non-shaded areas
information contain the modified data. If all of the non-shaded areas are blank, the data was deleted.

Name Social Security number Telephone number _ Driver's license number
Address Employer Employer address

8523 CRATIN PL
PHILADELPHIA PA. 191 63- 1915

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